             Case 3:21-cv-04553-WHO Document 14 Filed 07/07/21 Page 1 of 10




 1   Rodeen Talebi (SBN 320392)
     talebi@fr.com
 2   FISH & RICHARDSON P.C.
     500 Arguello Street, Suite 500
 3   Redwood City, CA 94063
     Telephone: (650) 839-5070
 4   Facsimile: (650) 839-5071
 5   Neil J. McNabnay, pending pro hac vice
     Texas Bar No. 24002583
 6   mcnabnay@fr.com
     Ricardo J. Bonilla, pending pro hac vice
 7   Texas Bar No. 24082704
     rbonilla@fr.com
 8   Michael A. Vincent, pending pro hac vice
     Texas Bar No. 24105738
 9   vincent@fr.com
     FISH & RICHARDSON, P.C.
10   1717 Main Street, Suite 5000
     Dallas, Texas 75201
11   Telephone: (214) 747-5070
     Facsimile: (214) 747-2091
12
     Attorneys for Defendant
13
     YANKA INDUSTRIES, INC. d/b/a MASTERCLASS
14
                             UNITED STATES DISTRICT COURT
15                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
16
     ROTHSCHILD BROADCAST
17   DISTRIBUTION SYSTEMS, LLC,                             C.A. No. 3:21-cv-04553-WHO

18                 Plaintiff,                               JURY TRIAL DEMANDED

19
            v.
20                                                 DEFENDANT’S ANSWER, AFFIRMATIVE
     YANKA INDUSTRIES, INC.
     d/b/a MASTERCLASS,                            DEFENSES, AND COUNTERCLAIMS TO
21
                                                        PLAINTIFF’S COMPLAINT
22                 Defendant.
23

24
            Yanka Industries, Inc. d/b/a Masterclass (“Defendant” or “MasterClass”) files this Answer,
25
     Affirmative Defenses, and Counterclaims to Plaintiff Rothschild Broadcast Distribution Systems,
26
     LLC’s (“Plaintiff” or “RBDS”) Complaint for Patent Infringement (“Complaint”). MasterClass
27

28
             Case 3:21-cv-04553-WHO Document 14 Filed 07/07/21 Page 2 of 10




 1   denies the allegations and characterizations in Plaintiff’s Complaint unless expressly admitted in
 2   the following paragraphs.
 3                                                PARTIES
 4          1.        MasterClass is without knowledge or information sufficient to form a belief as to
 5   the truth of the allegations in Paragraph 1 of the Complaint, and, on that basis, denies the
 6   allegations of Paragraph 1 of the Complaint.
 7          2.        MasterClass admits it is a Delaware corporation. MasterClass admits it may be
 8   served through its agent, The Corporation Trust Company, Corporation Trust Center, 1209
 9   Orange St. Wilmington, DE 19801. MasterClass denies the remaining allegations in Paragraph 2
10   of the Complaint.
11                                     JURISDICTION AND VENUE
12          3.        MasterClass admits the Complaint purports to set forth an action for patent
13   infringement, but MasterClass denies it has committed or is committing acts of infringement and
14   denies Plaintiff is entitled to any relief. MasterClass denies any remaining allegations in
15   Paragraph 3 of the Complaint.
16          4.        MasterClass admits this Court has subject matter jurisdiction over this action
17   pursuant to 28 U.S.C. §§ 1331 and 1338(a) because Plaintiff has alleged infringement of a
18   patent, but MasterClass denies it has committed or is committing acts of infringement and denies
19   Plaintiff is entitled to any relief. MasterClass denies any remaining allegations in Paragraph 4 of
20   the Complaint.
21          5.        MasterClass does not contest whether personal jurisdiction over it properly lies in
22   this District in this action. MasterClass denies the remaining allegations of Paragraph 5 of the
23   Complaint.
24          6.        MasterClass denies it has committed or is committing acts of infringement and
25   denies Plaintiff is entitled to any relief. MasterClass denies any remaining allegations in
26   Paragraph 6 of the Complaint.
27

28
              Case 3:21-cv-04553-WHO Document 14 Filed 07/07/21 Page 3 of 10




 1          7.      MasterClass does not contest that venue may be proper in this District in this
 2   action. MasterClass denies it has committed or is committing acts of infringement. MasterClass
 3   denies the remaining allegations of Paragraph 7 of the Complaint.
 4                                    [ALLEGED] BACKGROUND
 5          8.      MasterClass admits the ’221 Patent speaks for itself but denies any
 6   characterizations inconsistent therewith and, on that basis, denies any remaining allegations in
 7   Paragraph 8 of the Complaint.
 8          9.      MasterClass is without knowledge or information sufficient to form a belief as to
 9   the truth of the allegations in Paragraph 9 of the Complaint, and, on that basis, denies the
10   allegations of Paragraph 9 of the Complaint.
11          10.     MasterClass is without knowledge or information sufficient to form a belief as to
12   the truth of the allegations in Paragraph 10 of the Complaint, and, on that basis, denies the
13   allegations of Paragraph 10 of the Complaint.
14          11.     MasterClass admits the ’221 Patent contains thirteen claims including two
15   independent claims (claims 1 and 7) and eleven dependent claims.
16                                             COUNT ONE
17                   ([Alleged] Infringement of United States Patent No. 8,856,221)
18          12.     MasterClass refers to and incorporates the allegations in Paragraphs 1–11, the
19   same as if set forth herein.
20          13.     MasterClass admits the Complaint purports to set forth an action for patent
21   infringement, but MasterClass denies it has committed or is committing acts of infringement and
22   denies Plaintiff is entitled to any relief. MasterClass denies any remaining allegations in
23   Paragraph 13 of the Complaint.
24          14.     MasterClass denies it has committed or is committing acts of infringement and
25   denies Plaintiff is entitled to any relief. MasterClass denies any remaining allegations in
26   Paragraph 14 of the Complaint.
27

28
             Case 3:21-cv-04553-WHO Document 14 Filed 07/07/21 Page 4 of 10




 1          15.     MasterClass admits the ’221 Patent speaks for itself but denies any
 2   characterizations inconsistent therewith and, on that basis, denies any remaining allegations in
 3   Paragraph 15 of the Complaint.
 4          16.     MasterClass denies the allegations in Paragraph 16 of the Complaint.
 5          17.     MasterClass denies the allegations in Paragraph 17 of the Complaint.
 6          18.     MasterClass denies the allegations in Paragraph 18 of the Complaint.
 7          19.     MasterClass denies the allegations in Paragraph 19 of the Complaint.
 8          20.     MasterClass denies the allegations in Paragraph 20 of the Complaint.
 9          21.     MasterClass denies the allegations in Paragraph 21 of the Complaint.
10          22.     MasterClass denies the allegations in Paragraph 22 of the Complaint.
11          23.     MasterClass denies the allegations in Paragraph 23 of the Complaint.
12          24.     MasterClass admits it owns the MasterClass video learning platform. MasterClass
13   denies the remaining allegations in Paragraph 24 of the Complaint.
14          25.     MasterClass denies the allegations in Paragraph 25 of the Complaint.
15          26.     MasterClass denies the allegations in Paragraph 26 of the Complaint.
16          27.     MasterClass denies the allegations in Paragraph 27 of the Complaint.
17          28.     MasterClass denies the allegations in Paragraph 28 of the Complaint.
18          29.     MasterClass denies the allegations in Paragraph 29 of the Complaint.
19          30.     MasterClass denies the allegations in Paragraph 30 of the Complaint.
20          31.     MasterClass denies the allegations in Paragraph 31 of the Complaint.
21          32.     MasterClass denies the allegations in Paragraph 32 of the Complaint.
22          33.     MasterClass denies the allegations in Paragraph 33 of the Complaint.
23          34.     MasterClass denies the allegations in Paragraph 34 of the Complaint.
24          35.     MasterClass denies the allegations in Paragraph 35 of the Complaint.
25          36.     MasterClass denies the allegations in Paragraph 36 of the Complaint.
26

27

28
               Case 3:21-cv-04553-WHO Document 14 Filed 07/07/21 Page 5 of 10




 1            37.    MasterClass admits Exhibit A purports to be a copy of the ’221 Patent.
 2   MasterClass admits the ’221 Patent speaks for itself. MasterClass denies any remaining
 3   allegations in Paragraph 37 of the Complaint.
 4            38.    MasterClass denies the allegations in Paragraph 38 of the Complaint.
 5            39.    MasterClass denies the allegations in Paragraph 39 of the Complaint.
 6            40.    MasterClass denies the allegations in Paragraph 40 of the Complaint.
 7            41.    MasterClass is without knowledge or information sufficient to form a belief as to
 8   the truth of the allegations in Paragraph 41 of the Complaint, and, on that basis, denies the
 9   allegations of Paragraph 41 of the Complaint.
10            42.    MasterClass denies the allegations in Paragraph 42 of the Complaint.
11                            [PLAINTIFF’S] DEMAND FOR JURY TRIAL
12            43.    MasterClass is not required to provide a response to Plaintiff’s demand for a jury
13   trial.
14                               [PLAINTIFF’S] PRAYER FOR RELIEF
15            MasterClass denies Plaintiff is entitled to any relief from MasterClass and denies all the
16   allegations contained in Paragraphs (a)-(d) of Plaintiff’s Prayer for Relief.
17                                      AFFIRMATIVE DEFENSES
18            MasterClass’s Affirmative Defenses are listed below. MasterClass reserves the right to
19   amend its answer to add additional Affirmative Defenses consistent with the facts discovered in
20   this action.
21                                  FIRST AFFIRMATIVE DEFENSE
22            MasterClass has not infringed and does not infringe, under any theory of infringement
23   (including directly (whether individually or jointly) or indirectly (whether contributorily or by
24   inducement)), any valid, enforceable claim of the ’221 Patent.
25

26

27

28
             Case 3:21-cv-04553-WHO Document 14 Filed 07/07/21 Page 6 of 10




 1                                SECOND AFFIRMATIVE DEFENSE
 2          Each asserted claim of the ’221 Patent is invalid for failure to comply with one or more of
 3   the requirements of the United States Code, Title 35, including without limitation, 35 U.S.C.
 4   §§ 101, 102, 103, and 112, and the rules, regulations, and laws pertaining thereto.
 5                                 THIRD AFFIRMATIVE DEFENSE
 6          To the extent that Plaintiff and any predecessors in interest to any of the ’221 Patent failed
 7   to properly mark any of their relevant products or materials as required by 35 U.S.C. § 287, or
 8   otherwise give proper notice that MasterClass’s actions allegedly infringe the ’221 Patent,
 9   MasterClass is not liable to Plaintiff for the acts alleged to have been performed before it received
10   actual notice that it was allegedly infringing the ’221 Patent.
11                                FOURTH AFFIRMATIVE DEFENSE
12          To the extent Plaintiff asserts that MasterClass indirectly infringes, either by contributory
13   infringement or inducement of infringement, MasterClass is not liable to Plaintiff for the acts
14   alleged to have been performed before MasterClass knew that its actions would cause indirect
15   infringement.
16                                 FIFTH AFFIRMATIVE DEFENSE
17          Plaintiff’s attempted enforcement of the ’221 Patent against MasterClass is barred by one
18   or more of the equitable doctrines of estoppel, acquiescence, waiver, and unclean hands.
19                                 SIXTH AFFIRMATIVE DEFENSE
20          The claims of the ’221 Patent are not entitled to a scope sufficient to encompass any system
21   employed or process practiced by MasterClass.
22                               SEVENTH AFFIRMATIVE DEFENSE
23          Plaintiff’s Complaint fails to state a claim upon which relief can be granted because the
24   ’221 Patent does not claim patentable subject matter.
25

26

27

28
             Case 3:21-cv-04553-WHO Document 14 Filed 07/07/21 Page 7 of 10




 1                                EIGHTH AFFIRMATIVE DEFENSE
 2          Should MasterClass be found to infringe any valid, enforceable claim of the ’221 Patent,
 3   such infringement was not willful.
 4                              MASTERCLASS’S COUNTERCLAIMS
 5          For its counterclaims against Plaintiff Rothschild Broadcast Distribution Systems, LLC
 6   (“RBDS”), Counterclaim Plaintiff Yanka Industries, Inc. d/b/a MasterClass (“MasterClass”)
 7   alleges as follows:
 8                                               PARTIES
 9          1.      Counterclaim Plaintiff MasterClass is a company organized and existing under the
10   laws of the State of Delaware, with a place of business at 660 4th Street, #443, San Francisco,
11   California 94107. MasterClass admits it may be served through its agent, The Corporation Trust
12   Company, Corporation Trust Center, 1209 Orange St. Wilmington, DE 19801
13          2.      Upon information and belief based solely on Paragraph 1 of the Complaint as pled
14   by Plaintiff, Counterclaim Defendant RBDS is a limited liability company organized and
15   existing under the laws of the State of Texas, and maintains a place of business at 1 East
16   Broward Boulevard, Suite 700, Ft. Lauderdale, FL 33301.
17                                           JURISDICTION
18          3.      MasterClass incorporates by reference Paragraphs 1–2 above.
19          4.      These counterclaims arise under the patent laws of the United States, Title 35,
20   United States Code. The jurisdiction of this Court is proper under at least 35 U.S.C. § 271 et seq.,
21   and 28 U.S.C. §§ 1331, 1338, 1367, and 2201–02.
22          5.      RBDS has consented to the personal jurisdiction of this Court at least by
23   commencing its action for patent infringement in this District, as set forth in its Complaint.
24          6.      Based solely on RBDS’s filing of this action, venue is proper, though not
25   necessarily convenient, in this District pursuant to at least 28 U.S.C. §§ 1391 and 1400.
26

27

28
             Case 3:21-cv-04553-WHO Document 14 Filed 07/07/21 Page 8 of 10




 1                                                COUNT I
 2                     DECLARATION REGARDING NON-INFRINGEMENT
 3          7.      MasterClass incorporates by reference Paragraphs 1–6 above.
 4          8.      Based on RBDS’s filing of this action and at least MasterClass’s First Affirmative
 5   Defense, an actual controversy has arisen and now exists between the parties as to whether
 6   MasterClass infringes U.S. Patent No. 8,856,221 (the “’221 Patent”).
 7          9.      MasterClass does not infringe at least claim 7 of the ’221 Patent because, among
 8   other things, it does not make, use, offer to sell, sell, or import any method or system that
 9   “receiv[es] a request message including media data,” “wherein the media data includes time data
10   that indicates a length of time to store the requested media content.”
11          10.     Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.,
12   MasterClass requests a declaration by the Court that MasterClass has not infringed and does not
13   infringe any claim of the ’221 Patent under any theory (including directly (whether individually
14   or jointly) or indirectly (whether contributorily or by inducement)).
15                                               COUNT II
16                           DECLARATION REGARDING INVALIDITY
17          11.     MasterClass incorporates by reference Paragraphs 1–10 above.
18          12.     Based on RBDS’s filing of this action and at least MasterClass’s Second
19   Affirmative Defense, an actual controversy has arisen and now exists between the parties as to
20   the validity of the claims of the ’221 Patent.
21          13.     The asserted claims of the ’221 Patent are anticipated and/or rendered obvious by,
22   inter alia, U.S. Pat. No. 9,898,500 and U.S. Patent Appl. No. 13/269,614.
23          14.     U.S. Pat. No. 9,898,500 teaches or suggests “techniques and systems for storage,
24   delivery and acquisition of digital assets stored in cloud data storage.” ’500 Pat., Abstract.
25

26

27

28
             Case 3:21-cv-04553-WHO Document 14 Filed 07/07/21 Page 9 of 10




 1          15.     U.S. Patent Appl. No. 13/269,614 teaches or suggests “[d]elivering dynamic
 2   media content to a client on a client device” wherein clients “initiate requests” and “download”
 3   information from “data server units.” ’614 Appl., Abstract.
 4          16.     Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.,
 5   MasterClass requests a declaration by the Court that claims of the ’221 Patent are invalid for
 6   failure to comply with one or more of the requirements of United States Code, Title 35, including
 7   without limitation, 35 U.S.C. §§ 101, 102, 103, and 112, and the rules, regulations, and laws
 8   pertaining thereto.
 9                                       PRAYER FOR RELIEF
10          WHEREFORE, MasterClass asks this Court to enter judgment in MasterClass’s favor and
11   against RBDS by granting the following relief:
12          a)      a declaration that the ’221 Patent is invalid;
13          b)      a declaration that MasterClass does not infringe, under any theory, any valid claim
14   of the ’221 Patent that may be enforceable;
15          c)      a declaration that the ’221 Patent is unenforceable;
16          d)      a declaration that RBDS take nothing by its Complaint;
17          e)      judgment against RBDS and in favor of MasterClass;
18          f)      dismissal of the Complaint with prejudice;
19          g)      a finding that this action is an exceptional case under 35 U.S.C. § 285 and an award
20   to MasterClass of its costs and attorneys’ fees incurred in this action; and
21          h)      further relief as the Court may deem just and proper.
22                                           JURY DEMAND
23          MasterClass hereby demands trial by jury on all issues.
24

25

26

27

28
            Case 3:21-cv-04553-WHO Document 14 Filed 07/07/21 Page 10 of 10




 1   Dated: July 7, 2021                    Respectfully submitted,
 2
                                       By: /s/ Rodeen Talebi
 3                                          Rodeen Talebi
 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
